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6
                                   UNITED STATES DISTRICT COURT
7
                                  EASTERN DISTRICT OF CALIFORNIA
8

9

10                                 )
     THE UNITED STATES OF AMERICA, ) CASE NO. 1:15-CR-00288-012 LJO
11                                 )
                 Plaintiff,        ) DEFENDANT’S WAIVER OF PERSONAL
12        vs.                      ) PRESENCE AT SENTENCING PURSUANT
                                   ) TO FRCP RULE 43 AND NOTICE OF
13                                 ) NOTICE OF INTENT TO BE PRESENT BY
     ARTHUR ALLEN WALKER,          ) WAY OF TELEPHONIC CONFERENCE:
14                                 ) STIPULATION FOR WAIVER OF
                Defendant.         ) PERSONAL PRESENCE; AND
15
                                   ) ORDER
16                                 )
                                   ) DATE: April 16, 2018
17                                 ) TIME: 11:00 a.m.
                                     DEPT: The Honorable Lawrence J. O’Neil
18

19

20                                                 WAIVER
             Defendant Arthur Walker hereby knowingly, voluntarily, and intelligently waives his
21
     right to be physically present at his sentencing.
22
             He instead intends to be present by way of live telephonic conferencing and therefore only
23
     specifically waives his right to physical presence and does not waive his right to allocation at the
24
     Proceedings. He waives the right to appeal any issues that may arise as a result of this waiver of
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     his right to physical presence.



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1
     DATED: April 5, 2018                                               /s/ Arthur Allen Walker
2                                                                       ARTHUR ALLEN WALKER
                                                                        Defendant
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4
     DATED: April 5, 2018                                               /s/ Caroline C. McCreary.
5                                                                       Attorney for Defendant

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                                          ---------------------------
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9                                                ORDER
10         Based upon the stipulation of the parties, and good cause appearing therefor,
11
           IT IS HEREBY ORDERED that defendant ARTHUR ALLEN WALKER may
12
           appear at his Sentencing, scheduled for April 16, 2018 at 11:00 a.m., via telephonic
13
           conferencing.
14
           IT IS APPROVED.
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     IT IS SO ORDERED.
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17      Dated:    April 9, 2018                               /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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